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EXHIBIT 3

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Kentucky Physicians Health Foundation

Greg L. Jones, MD, FASAM (502) 425-7761
Medical Director Fax (502) 425-6871

September 2, 2020

Board of Directors

Wit W. Ward, Jr. MD, FacP, FASAM | Hon, Danny C. Reeves
United States Chief Judge
Karyn Hascal, BA, CAD US District Court, Eastern District of Kentucky
101 Barr Street
Lexington, KY 40507

Mr, Robert Ktinglesmith

Sean Maguire, MD

RE: Theodore L. Gerstle, MD

Ernest W. Marshall, MD, FACOG

Nr, Michael O'Connell Dear Judge Reeves:

Kenneth J. Payne, AD . . . op . .
_ The purpose of this letter is to provide information regarding the above-noted

Ar, Michael Redman physician and his current relationship with our program.

The Kentucky Physicians Health Foundation began in the mid-1970's as an
impaired physicians committee. At that time it was an offshoot of the Kentucky
Medical Association, composed of volunteers that helped physicians struggling
with various issues. mostly drugs and alcohol. Over the years, it became apparent
that what was needed was a freestanding foundation with a full-time medical
director to oversee the needs of Kentucky’s physicians. So, the Kentucky Board
of Medical Licensure created a state statute requiring the formation ofa
Foundation for this purpose.

Since its inception there have been well over 1,000 physicians monitored by the
Foundation. It has been our experience that the mandates we place on our
participants mirror and in most cases are stronger than those put in place by the
probation system. Some of our participants have been involved in both programs
at the same time due to their legal activities.

Our participants engage in weekly group and/or individual therapy. We drug and
alcohol screen them vigorously, including for over-the-counter medications. They
are tested weekly the first year, but no less than twice per month during their
entire five-year contract. They must attend a minimum three AA meetings per
week and maintain an ongoing relationship with an AA sponsor. Additionally, we
maintain communication with contacts in the workplace to keep an eye on their
professional behavior.

9000 Wessex Place * Suite 305 * Louisville, Kentucky 40222

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Hon. Danny C. Reeves -2-
September 2, 2020

At the end of a five-year contract with the Foundation, we have found a greater than 85 percent
success rate with documented sustained sobriety in our participants. 1 do not believe there are
many other programs in the country that are able to match our rate of success.

Dr. Gerstle was initially referred to our office in January of 2018, due to conccrns of possible
impairment within the workplace, related to the use of alcohol. I met with him on January 29,
2018, at which time I obtained a thorough history of the events that led to his referral. I also
gathered a personal and family health history, which included a list of his current medications.
He indicated that he was on no controlled-substances at that time.

Immediately following our meeting, he submitted to our standard blood and urine testing. The
blood test was positive for high levels of alcohol metabolites. The urine drug screen was
appropriate and corroborated the information he shared during our interview.

Based on the information he shared over the course of our meeting and his test results, as well as
the circumstances that led to his referral to our office, I directed him to undergo a 96-hour
inpatient evaluation or enter treatment directly.

He was subsequently admitted to Caron Treatment Centers for residential treatment on February
8, 2018. He successfully completed his treatment experience on April 1, 2018.

Dr. Gerstle returned to our office on April 11, 2018, at which time he signed his aftercare
contract with our program, Current components include the following:

Documented attendance at no less than three AA meetings per week

Ongoing relationship with an AA sponsor

Weekly participation in a physicians aftercare group

Random, observed drug screens and alcohol determinations

. Professional accountability obtained through interval reports from a contact at his

worksite

Since our initial meeting, Dr. Gerstle has complied with all of the directives of the Foundation
and I consider him to be in full compliance with our program. All therapeutic and professional
reports have been positive, and all drug screens and alcohol determination results have been
appropriate, He has embraced his recovery activities and we are well pleased with his progress.

If you have any further concerns or questions, please don’t hesitate to contact our office.

Sincerely,

prep

Greg L. Jones, MD, FASAM

Diplomat of ABAM

Medical Director

Kentucky Physicians Health Foundation

GLJ:emb
